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                In the United States Court of Federal Claims
                                             Case No.: 19-4 C
                                          Filed: January 2, 2019



JUSTIN TAROVISKY, et al.
                                                           NOTICE OF DESIGNATION
    v.

THE UNITED STATES


        Pursuant to Appendix E of the Rules of the United States Court of Federal Claims, this case has
been designated as an electronic case in the court's case management/electronic case filing (CM/ECF)
system. To file documents and to receive service in CM/ECF, attorneys of record must have a CM/ECF
account. A CM/ECF account login and password will be issued only to members of the United States
Court of Federal Claims bar. Information about CM/ECF, including the online registration form and
CM/ECF filing tips, is available on the court's website at http://www.uscfc.uscourts.gov/electronic-filing.

         The following guidelines apply to all electronic cases in the CM/ECF system:

         All documents in this case are to be filed electronically, except by leave of the court in
exceptional circumstances. All electronically filed documents are to be in Portable Document Format
(PDF). Although electronic filing via the Internet is preferred, the Clerk’s Office will make available a
public terminal from which documents may be filed electronically during normal business hours only
(8:30 a.m. to 4:30 p.m.).

         Service is complete upon electronic submission of an order or document and will be effected by
electronic notice only to those counsel with a CM/ECF account. To receive service of electronically filed
documents, counsel must immediately obtain a CM/ECF account if they do not have one already. The
Clerk’s Office will effect service of electronically filed documents in paper form for thirty (30) days from
the date of this notice if counsel has not yet obtained a CM/ECF account. All orders and documents not
served electronically after that date will be the responsibility of counsel to obtain through the use of a
PACER account. Counsel are responsible for monitoring their e−mail accounts and upon receipt of a
notice of electronic filing, for retrieving the order or document electronically. Certificates of service for
documents filed electronically are not necessary unless the document is also served in paper form.

       Counsel are on notice that no allowance can be made for the late filing of a document for
which the time limit is jurisdictional.


                                                           _______________________
                                                           Lisa L. Reyes
                                                           Clerk of Court
